                                                           Case 3:18-cv-01979-WHA      Document 166     Filed 04/23/20    Page 1 of 17



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                                                       7

                                                       8                            UNITED STATES DISTRICT COURT

                                                       9                           NORTHERN DISTRICT OF CALIFORNIA
100 PINE STREET, SUITE 350, SAN FRANCISCO CA, 94111




                                                      10                               SAN FRANCISCO DIVISION
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                                                           AMERICAN SMALL BUSINESS                    CASE NO. 3:18-CV-01979-WHA
                                                      12   LEAGUE,
                                                                                                      PLAINTIFF AMERICAN SMALL
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                                                      13              Plaintiff,                      BUSINESS LEAGUE’S NOTICE OF
                                                                                                      MOTION AND MOTION TO COMPEL
                                                      14        v.                                    DEFENDANTS’ COMPLIANCE WITH
                                                                                                      COURT ORDERS (DKT. NO. 58, DKT. NO.
                                                      15   UNITED STATES DEPARTMENT OF                153)
                                                           DEFENSE and UNITED STATES
                                                      16   DEPARTMENT OF JUSTICE,                     Date:    May 28, 2020
                                                                                                      Time:    8:00 a.m.
                                                      17              Defendants,                     Judge:   Hon. William Alsup
                                                                                                      Place:   Ctrm. 12, 19th Floor
                                                      18   LOCKHEED MARTIN CORPORATION,
                                                      19              Defendant-Intervenor.
                                                      20

                                                      21

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                                                      28
                                                                       PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                           COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                         CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA           Document 166       Filed 04/23/20     Page 2 of 17



                                                       1                NOTICE OF MOTION AND MOTION (DKT. NO. 58, DKT. NO. 153)

                                                       2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                                                       3            PLEASE TAKE NOTICE that on May 28, 2020, at 8:00 a.m., in Courtroom 12 of this

                                                       4   Court, as authorized by Dkt. No. 165, plaintiff American Small Business League (“plaintiff” or

                                                       5   “ASBL”) will and hereby does move, pursuant to Dkt. No. 58 and Dkt. No. 153, for an Order

                                                       6   finding that defendants United States Department of Defense (“DOD”) and United States

                                                       7   Department of Justice (“DOJ”) (collectively, “defendants”) have not fully complied with Dkt.

                                                       8   No. 58 and Dkt. No. 153, and compelling them to do so within fourteen (14) days.

                                                       9            This Motion is made on the grounds that defendants have not complied with this Court’s
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                                                      10   summary judgment orders, Dkt. No. 58 and Dkt. No. 153, as to 5 U.S.C. section 552,
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                                                      11   subdivisions (b)(4) (“Exemption 4”) and (b)(5) (“Exemption 5”), respectively. The Court
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                                                      12   authorized this Motion in Dkt. No. 165, at the joint request of the parties.
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                                                      13            This Motion is based on this Notice of Motion; the Memorandum of Points and

                                                      14   Authorities in support; the anticipated Reply in support; the declaration of Karl Olson in

                                                      15   support; the Court’s records and files in this action; and any other evidence or argument the

                                                      16   Court may receive before or at the hearing on this Motion.

                                                      17                                           RELIEF SOUGHT

                                                      18            The disclosure of (1) all government assessments and evaluations – including compliance

                                                      19   reviews, in their entirety – and all other information created by the government that defendants

                                                      20   have withheld under Exemption 4 and (2) all correspondence between defendants, on the one

                                                      21   hand, and Lockheed Martin Corporation (“Lockheed”) and its subsidiaries, including Sikorsky

                                                      22   Aircraft Corporation (“Sikorsky”),1 and their attorneys, in American Small Business League v.

                                                      23   Department of Defense, Case No. C-14-02166-WHA (N.D. Cal.) (“ASBL I”), that defendants

                                                      24   have withheld pursuant to Exemption 5, except for correspondence from September 13, 2017

                                                      25   through October 11, 2017.

                                                      26                                       ISSUES TO BE DECIDED

                                                      27
                                                           1
                                                      28       For ease of reference, Lockheed and Sikorsky are both referred to in this brief as “Lockheed.”
                                                                                                           1
                                                                             PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                 COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                               CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166        Filed 04/23/20      Page 3 of 17



                                                       1          1.      Whether DOD and DOJ have complied with Dkt. No. 153 as to Exemption 4.

                                                       2          2.      Whether DOD and DOJ have complied with Dkt. No. 58 as to Exemption 5.

                                                       3                       MEMORANDUM OF POINTS AND AUTHORITIES

                                                       4   I.     INTRODUCTION

                                                       5          ASBL has long fought, in this case and others, to vindicate its right of access under the

                                                       6   Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), to records showing the extent to which

                                                       7   some of the largest prime defense contractors are complying with their small business

                                                       8   subcontracting obligations under the Small Business Act, 15 U.S.C. § 631, and related

                                                       9   government regulations. This is an issue of tremendous importance at a time when many small
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                                                      10   businesses face existential challenges to their survival. In this case, ASBL won two orders
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                                                      11   directing defendants to disclose records relevant to Lockheed’s compliance with small business
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                                                      12   subcontracting obligations that defendants had improperly withheld. Defendants, however, have
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                                                      13   failed to comply with Dkt. No. 153 with respect to Exemption 4, and with Dkt. No. 58 with

                                                      14   respect to Exemption 5. They should be ordered to remedy that failing by disclosing all

                                                      15   “government assessments and evaluations,” including compliance reviews, and all ASBL I-related

                                                      16   communications with Lockheed from before September 13, 2017 and after October 11, 2017.

                                                      17   II.    FACTUAL AND PROCEDURAL HISTORY

                                                      18          ASBL is a nonprofit advocacy organization that supports policies that protect small

                                                      19   businesses. Dkt. No. 47-53 ¶ 2. It is focused on ensuring that federal small business protection

                                                      20   programs like the Small Business Act, 15 U.S.C. § 631 (“SBA”) are functioning properly. Dkt.

                                                      21   No. 47-53 ¶¶ 1-4. ASBL made the FOIA requests at issue here to (1) expose agencies’ and prime

                                                      22   contractors’ compliance or non-compliance with the SBA and their small business subcontracting

                                                      23   goals to public scrutiny, and (2) assess whether DOD’s “Test Program,” which allows large prime

                                                      24   contractors to submit one “comprehensive subcontracting plan” rather than separate plans for

                                                      25   each contract, Dkt. No. 58 at 2:3-9, had furthered the SBA’s purpose of helping small

                                                      26   businesses.2

                                                      27
                                                           2
                                                            In findings DOD appended to a 2015 GAO report, DOD found that subcontracting
                                                      28   opportunities for small businesses had dramatically diminished since the “Test Program”
                                                                                                          2
                                                                           PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                               COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                             CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166         Filed 04/23/20      Page 4 of 17



                                                       1           This motion focuses on a September 22, 2017 FOIA request by ASBL that sought, among

                                                       2   other things,

                                                       3           All documents transmitted between (a) DoD or the Department of Justice and (b)
                                                       4           Lockheed Martin Corp. (“LM,” including Sikorsky Aircraft Corp. (“Sikorsky”)
                                                                   and other LM subsidiaries concerning: (1) the FOIA request dated August 9, 2013,
                                                       5           from the American Small Business League (“ASBL”) to DoD, (2) ASBL”), (3)
                                                                   Lloyd Chapman, (4) the CSPTP [(Comprehensive Subcontracting Plan Test
                                                       6           Program)], (5) SBIR [(Small Business Innovation Research)], and (6) Mentor-
                                                                   Protégé program.
                                                       7
                                                           Dkt. No. 47-47. ASBL made this Request on September 22, 2017, to multiple federal government
                                                       8
                                                           departments to ensure prompt action. Dkt. No. 47-47. DOD told ASBL on September 25, 2017
                                                       9
                                                           that it would not timely respond. Dkt. No. 20 ¶ 22; Dkt. No. 22 ¶ 22. On October 26, 2017, DOD
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                                                      10
                                                           stated that it was still in the process of responding, that a response would take more time, and that
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                                                           ASBL had the right to judicial review. Dkt. No. 47-49. ASBL received no further response to the
                                                      12
                                                           Lockheed Request for the next seven months, at which point ASBL included the Lockheed
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                                                      13
                                                           Request in this lawsuit. Dkt. No. 22 ¶ 25.
                                                      14
                                                                   ASBL filed its original complaint on March 30, 2018, and later amended its complaint to
                                                      15
                                                           include the Request at issue in this motion and the DOJ as a defendant. Dkt. No. 20; Dkt. No. 29-
                                                      16
                                                           1. The case was related to ASBL v. DOD, 3:14-CV-2166-WHA (N.D. Cal.) (“ASBL I”). Dkt. No.
                                                      17
                                                           8, 8-1, 15, 16.
                                                      18
                                                                   Defendants invoked FOIA Exemptions 3, 4, 5, and 6. Dkt. No. 159-1 ¶ 37. The parties
                                                      19
                                                           filed cross-motions for summary judgment on November 16 and December 7, 2018, Dkt. No. 44;
                                                      20
                                                           Dkt. No. 47; Dkt. No. 48; Dkt. No. 51. ASBL challenged defendants on Exemptions 3, 4, and 5,
                                                      21
                                                           and emphasized the importance of public access to compliance reviews. See Dkt. No. 47.
                                                      22
                                                                   Defendants argued that most of their communications with Lockheed in ASBL I were
                                                      23
                                                           protected by Exemption 5, which applies to “inter-agency or intra-agency memorandums or
                                                      24

                                                      25
                                                           became effective: “the percentage of dollars subcontracted to small businesses by all of the
                                                      26   [Test Program] participants combined declined over the life of the [Test Program] from
                                                           approximately 46% in FY96” to “24% in FY14.” See Action Needed to Determine Whether
                                                      27   DOD’s Comprehensive Subcontracting Plan Test Program Should Be Made Permanent, Report
                                                           No. GAO-16-27, Government Accountability Office 30, Exhibit 1 (Nov. 2015), available at
                                                      28   https://www.gao.gov/assets/680/673649.pdf.
                                                                                                          3
                                                                             PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                 COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                               CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA           Document 166         Filed 04/23/20     Page 5 of 17



                                                       1   letters which would not be available by law to a party other than an agency in litigation with the

                                                       2   agency,” 5 U.S.C. § 552(b)(5), pursuant to the “common interest” doctrine. Dkt. No.44 at 16:25-

                                                       3   23:5. ASBL argued that the common interest doctrine didn’t apply given defendants’ interests as

                                                       4   government agencies and Lockheed’s different interests as a private corporation, and that

                                                       5   defendants didn’t have a lawful joint defense agreement with Lockheed in any event. Dkt. No. 47

                                                       6   at 27:1-34:20.

                                                       7          The Court ruled on the parties’ cross-motions on March 8, 2019. Dkt. No. 58. It ruled for

                                                       8   ASBL on Exemption 3, rejecting the Procurement Integrity Act as a basis for using Exemption 3

                                                       9   to justify withholding the “compliance review” evaluations and assessments. Dkt. No. 58 at 6:1-
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                                                      10   9:9. It denied both motions as to Exemption 4. Dkt. No. 58 at 9:10-11:28 (citing, inter alia, ASBL
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                                                      11   I, 674 F. App’x 675, 676 (9th Cir. 2017)). It granted ASBL’s motion in part as to Exemption 5.
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                                                      12   Dkt. No. 58 at 12:1-17:16. And it set the case for trial as to Exemption 4 on December 9, 2019.
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                                                      13   Dkt. No. 61.

                                                      14          As to Exemption 5, the Court held that defendants were entitled to withhold only their

                                                      15   ASBL I communications with Lockheed that were legitimately made pursuant to a legally effective

                                                      16   joint defense agreement. See Dkt. No. 58 at 12:1-17:16. The Court refused to “blindly bless the

                                                      17   government’s mere invocation of a common interest.” Dkt. No. 58 at 16:3-4. It explained:

                                                      18          “Documents exchanged before a common interest agreement is established are not
                                                      19          protected from disclosure.” Id. at 285. “Thus, a proper assessment of the
                                                                  applicability of the common interest doctrine in this case requires a determination
                                                      20          of the point in time” when the government decided to partner with Sikorsky in
                                                                  pursuing the Exemption 4 redactions and when the partnership ended. Ibid.
                                                      21
                                                           Dkt. No. 58 at 3-9. The Court concluded, “With the foregoing principles in mind, the
                                                      22
                                                           government shall release all communications that were not legitimately made pursuant to a
                                                      23
                                                           joint defense agreement (unless protected by another FOIA exemption).” Dkt. No. 58 at 17:13-
                                                      24
                                                           16 (emphasis added). It elaborated at a January 31, 2019 hearing on the parties’ cross-motions
                                                      25
                                                           that the joint defense agreement standard is strict, and that “if you don’t dot your I’s and cross
                                                      26
                                                           your T’s, you are out of luck.” Declaration of Karl Olson in Support of Plaintiff American Small
                                                      27

                                                      28
                                                                                                             4
                                                                            PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                              CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA           Document 166         Filed 04/23/20     Page 6 of 17



                                                       1   Business League’s Notice of Motion and Motion to Compel Defendants’ Compliance with Court

                                                       2   Orders (Dkt. No. 58, Dkt. No. 153) (“Olson Decl.”), Ex. A at 5:8-10, 5:12-16.

                                                       3          Defendants released far less than Dkt. No. 58 required. They and Lockheed waited for

                                                       4   years after the ASBL I case began, until September 13, 2017, to enter into and execute a formal

                                                       5   joint defense agreement, and they formally terminated that agreement less than a month later, on

                                                       6   October 11, 2017. Dkt. No. 64-3 ¶¶ 11, 12. But they are continuing to withhold communications

                                                       7   from throughout ASBL I. See Dkt. No. 64-3 ¶ 14 (post-order declaration identifying twenty-one (21)

                                                       8   lines of Exemption 5 Vaughn index that changed as a result of defendants’ post-order disclosures),

                                                       9   Dkt. No. 78-1, Ex. B (post-order Exemption 5 Vaughn index listing approximately one hundred and
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                                                      10   thirty-four (134) lines of documents that defendants are continuing to withhold under Exemption 5
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                                                      11   and the common interest doctrine). To justify this, they assert that – despite defendants’ obvious on-
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                                                      12   again, off-again alliance with Lockheed, initial inability to agree to an actual written joint defense
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                                                      13   agreement, and later inability to agree on terms for reinstating one – their and Lockheed’s

                                                      14   interests were “aligned” throughout much of the case. Dkt. No. 64-2 ¶¶ 13-14; Dkt. No. 64-3 ¶

                                                      15   13. ASBL objected to defendants’ non-compliance with the Exemption 5 order. See Dkt. No. 72.

                                                      16          Defendants released about 1,182 pages of additional records responsive to the request at

                                                      17   issue here on April 30, 2019 and June 28, 2019, including some with respect to which they

                                                      18   invoked Exemption 4, and provided an updated Vaughn index on July 11, 2019. Dkt. No. 159-1 ¶

                                                      19   43. After Dkt. No. 58 and these subsequent disclosures, defendants continued to withhold twelve

                                                      20   documents in full, including government-made compliance reviews. See Olson Decl., Ex. F-1.

                                                      21   The rest remained heavily redacted. Dkt. No. 159-1 ¶ 43.

                                                      22          In mid-2019, two relevant appellate decisions issued: Rojas v. Federal Aviation

                                                      23   Administration, 927 F.3d 1046 (9th Cir. 2019), and Food Marketing Institute v. Argus Leader

                                                      24   Media, 139 S. Ct. 2356 (2019). ASBL sought reconsideration of Dkt. No. 58 as to Exemption 5

                                                      25   based on Rojas in Dkt. Nos. 74, 85, 87, 92, but the Court held ASBL’s motion for reconsideration

                                                      26   in abeyance pending the outcome of defendants’ petition for en banc review in Rojas. Dkt. No.

                                                      27

                                                      28
                                                                                                             5
                                                                           PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                               COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                             CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166       Filed 04/23/20      Page 7 of 17



                                                       1   93.3 The Court also granted defendants’ leave to file a second motion for summary judgment

                                                       2   based on Food Marketing Institute. See Dkt. No. 103. ASBL opposed, Dkt. No. 113, and the

                                                       3   Court granted partial summary judgment in favor of both ASBL and defendants on November 24,

                                                       4   2019. Dkt. No. 153.

                                                       5           In Dkt. No. 153, this Court ordered defendants to disclose in some form all twelve

                                                       6   documents that they had withheld in full, and ordered defendants to unredact many others,

                                                       7   including defendants’ government-made compliance reviews. See Dkt. No. 153. The Court held

                                                       8   that some information submitted by Lockheed was, on the record before it, protected under

                                                       9   Exemption 4 as interpreted by Food Marketing Institute. Dkt. No. 153. However, the Court also
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                                                      10   held:
                                                                   [O]nly information originating from the companies themselves can be considered
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                                                      11           information that they customarily and actually treated as private during their
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                                                      12           ordinary course of business. In the instant action, that means that government
                                                                   assessments and evaluations cannot be considered “confidential” information
                                                                   for purposes of Exemption 4.
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                                                      13

                                                      14   Dkt. No. 153 at 5:21-6:8 (emphasis in original). The Court explained that this meant all twelve

                                                      15   documents which defendants had withheld in full – several of which were compliance reviews –

                                                      16   needed to be disclosed, in whole or in part. Id. at 15:1-16:2. The Court directed, “Defendants

                                                      17   must release updated redacted versions of all documents (2,000-plus pages) at issue —

                                                      18   including the disclosure of all government evaluations and assessments — by JANUARY 6,

                                                      19   2020.” Id. at 16:5-7 (emphasis added).

                                                      20           Defendants once again failed to disclose enough in response to the Court’s Exemption 4

                                                      21   order. See Olson Decl., Ex. E-1, E-2, E-3, E-4. Even in compliance review documents that the

                                                      22   government created – which fall squarely within this Court’s clear mandate that “government

                                                      23   assessments and evaluations” must be disclosed, and which are critical to the public’s right and

                                                      24
                                                           3
                                                      25    This Court has not yet ruled on the motion for reconsideration, and ASBL is not asking this
                                                           Court to do so here. The Ninth Circuit recently granted rehearing en banc, Rojas v. Federal
                                                      26   Aviation Administration, 948 F.3d 959 (9th Cir. 2020), but it has not yet heard oral argument or
                                                           ruled. Because the Ninth Circuit may not issue an en banc decision for some time, ASBL is
                                                      27   pressing its Exemption 5 objections based on Dkt. No. 58 here, independently of its motion for
                                                           reconsideration, which the Court said it would delay resolving until after the Ninth Circuit’s en
                                                      28   banc decision.
                                                                                                          6
                                                                           PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                               COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                             CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166        Filed 04/23/20      Page 8 of 17



                                                       1   ability to assess how the government’s small business subcontracting efforts are working and

                                                       2   ensure that the government is fighting as hard as it should be for small businesses – defendants

                                                       3   have disclosed only extremely high-level information and left a substantial majority of the

                                                       4   information in the records at issue redacted. See Olson Decl. ¶ 7, Ex. E-1, E-2, E-3, E-4. For

                                                       5   example, defendants have disclosed Lockheed’s highest level overall small business

                                                       6   subcontracting goals and the extent to which Lockheed has met them, but have not disclosed that

                                                       7   same kind of information on a very slightly more granular level, as it relates to women-owned

                                                       8   small businesses and other small business subcategories. See Olson Decl., Ex. D-1. There is no

                                                       9   principled basis in Dkt. No. 153 for this distinction. Also, throughout their compliance reviews,
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                                                      10   defendants are apparently also continuing to withhold other government-made charts and data, as
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                                                      11   well as narrative discussions of small business subcontracting performance. See Olson Decl., Ex.
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                                                      12   D-2.
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                                                      13          In January 2020, ASBL and defendants informally resolved an initial motion for

                                                      14   attorney’s fees and costs with an explicit carveout for future proceedings about compliance.

                                                      15   Olson Decl. ¶ 2. ASBL then wrote to defendants to meet and confer about their improper

                                                      16   withholdings under Exemption 4 and Exemption 5. Olson Decl., Ex. A-C. As to Exemption 4,

                                                      17   defendants revised their withholdings on a few select pages in their compliance reviews. See

                                                      18   Olson Decl., Ex. B-C. However, the fundamental issues remain: defendants’ compliance reviews

                                                      19   are still overwhelmingly redacted, frustrating the public’s right to know whether billions of

                                                      20   dollars in taxpayer funds earmarked for small businesses are being spent as promised. See, e.g.,

                                                      21   Olson Decl., Ex. E-1, E-2, E-3, E-4. They conceal far more than they disclose, despite their status

                                                      22   as government-made and non-confidential documents pursuant to Dkt. No. 153. Id. As to

                                                      23   Exemption 5, defendants refused to disclose anything further. Olson Decl., Ex. B-C.

                                                      24          Having failed to resolve defendants’ compliance issues as to Exemption 5 and Exemption

                                                      25   4 after extensive correspondence, ASBL had no choice but to proceed with this motion. 4

                                                      26
                                                           4
                                                             The parties stipulated to a briefing schedule, Dkt. No. 164, and this Court ordered that the
                                                      27   motion be filed and that ASBL identify five documents for a second in camera review, Dkt. No.
                                                           165. ASBL has done so, and attached the four of these documents that defendants disclosed to it
                                                      28   in redacted form in our supporting declaration. Olson Decl. ¶ 7, Ex. E-1, E-2, E-3, E-4.
                                                                                                            7
                                                                           PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                               COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                             CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA           Document 166         Filed 04/23/20      Page 9 of 17



                                                       1   III.   ARGUMENT

                                                       2          A.      LEGAL STANDARD.

                                                       3          FOIA “provides public access to official information ‘shielded unnecessarily’ from public

                                                       4   view and establishes a ‘judicially enforceable public right to secure such information from

                                                       5   possibly unwilling official hands.’ ” Lahr v. Nat’l Transp. Safety Bd., 569 F.3d 964, 973 (9th Cir.

                                                       6   2009) (quoting Dep’t of Air Force v. Rose, 425 U.S. 352, 361 (1976)). In Dkt. No. 58, this Court

                                                       7   explained:

                                                       8          FOIA thus “mandates a policy of broad disclosure of government documents.”
                                                       9          Church of Scientology of California v. U.S. Dep’t of Army, 611 F.2d 738, 741 (9th
                                                                  Cir. 1979), overruled on other grounds by Animal Legal Def. Fund v. U.S. Food &
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                                                      10          Drug Admin., 836 F.3d 987 (9th Cir. 2016). [¶] “When a request is made, an
                                                                  agency may withhold a document, or portions thereof, only if the material at issue
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                                                      11          falls within one of the nine statutory exemptions found in [Section] 552(b).”
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                                                                  Maricopa Audubon Soc. v. U.S. Forest Serv., 108 F.3d 1082, 1085 (9th Cir. 1997).
                                                      12          “These exemptions are explicitly exclusive and must be narrowly construed in
                                                                  light of FOIA’s dominant objective of disclosure, not secrecy.” Ibid. (citations and
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                                                      13
                                                                  quotations omitted). “FOIA’s strong presumption in favor of disclosure places the
                                                      14          burden on the government to show that an exemption properly applies to the
                                                                  records it seeks to withhold.” Hamdan v. U.S. Dep’t of Justice, 797 F.3d 759, 772
                                                      15          (9th Cir. 2015).
                                                      16   Dkt. No. 58 at 3:16-27. To meet its burden to show that an exemption applies, defendants must

                                                      17   present non-conclusory evidence, rather than merely “boilerplate” declarations. See, e.g., Lane v. U.S.

                                                      18   Dep’t of the Interior, 523 F.3d 1128, 1136 (9th Cir. 2008); see also Goldwater Institute v. U.S. Dep’t

                                                      19   of Health and Human Services, No. 19-15615, 2020 WL 1487844, at **1-2, __ Fed. App’x __
                                                      20   (9th Cir. March 24, 2020) (Tashima, J., Hurwitz, J., Miller, J.) (reversing summary judgment
                                                      21   order in Exemption 4 case where the government relied on confidentiality regulations and “broad,
                                                      22   general arguments about the confidentiality of [the documents at issue], rather than addressing the
                                                      23   specific documents at issue here and showing how they fall under Exemption 4 of FOIA” to
                                                      24   justify withholding numerous e-mails created by the Food and Drug Administration).
                                                      25
                                                                  B.      DEFENDANTS SHOULD BE ORDERED TO DISCLOSE ALL COMPLIANCE REVIEWS
                                                      26                  AND GOVERNMENT EVALUATIONS AND ASSESSMENTS IN THEIR ENTIRETY,
                                                                          BECAUSE THEY DO NOT QUALIFY AS “CONFIDENTIAL” UNDER DKT. NO. 153.
                                                      27

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                                                                           PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                               COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                             CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166          Filed 04/23/20    Page 10 of 17



                                                       1           In order to justify their withholdings under Exemption 4, defendants were required to

                                                       2    establish that “the information is (1) commercial or financial, (2) obtained from a person, and (3)

                                                       3    privileged or confidential.” See Goldwater Institute, 2020 WL 1487844, at *1 (citing 5 U.S.C. §

                                                       4    552(b)(4); Food Mktg. Inst., 139 S. Ct. at 2362). In Food Marketing Institute, the Supreme Court

                                                       5    elaborated, “At least where commercial or financial information is both customarily and actually

                                                       6    treated as private by its owner and provided to the government under an assurance of privacy,” Id.

                                                       7    at 2366, it may be exempt.

                                                       8           In Dkt. No. 153, this Court held that government assessments and evaluations are not

                                                       9    “confidential” within the meaning of Exemption 4 and must be disclosed:
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                                                      10           In the instant action, . . . government assessments and evaluations cannot be
                                                                   considered “confidential” information for purposes of Exemption 4. This includes,
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                                                      11           for example, the government’s evaluations of a contractor’s compliance with
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                                                                   regulatory requirements, ratings, assessments of a contractor report’s accuracy, and
                                                      12           recommendations – e.g., a finding that an SSR report was “considered not accurate”
                                                                   (e.g., MSJ002082); that a company’s suppliers were “not validating their size at
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                                                      13           time of award” (e.g., ibid.); that an “SB goal” was “[n]ot met” because that
                                                                   company “failed to meet the SB goal by” a certain percentage (e.g., MSJ002087);
                                                      14           and that the rating of a review was “[e]xceptional” (e.g., MSJ000743). Such
                                                                   information stemmed from the government, not the companies. No one can
                                                      15           reasonably argue that those evaluations by the government constituted information
                                                                   that belonged to the companies rather than the government. The information
                                                      16           generated by the government must be disclosed.
                                                      17
                                                            Dkt. No. 153 at 5:23-6:8 (emphasis in original). Accordingly, all “government assessments and
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                                                            evaluations,” including all compliance reviews, in their entirety, must be disclosed.
                                                      19
                                                                   The Court’s holding that Exemption 4’s “confidential” requirement, as interpreted by
                                                      20
                                                            Food Marketing Institute, requires the disclosure of government assessments and evaluations like
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                                                            compliance reviews was correct. Defendants could not, and did not, present evidence showing
                                                      22
                                                            that their own assessments and evaluations constituted “commercial information customarily and
                                                      23
                                                            actually treated as private by its owner,” or contained any information that was legitimately
                                                      24
                                                            “provided to the government under an assurance of privacy.” Food Mktg. Inst., 139 S. Ct. at 2366.
                                                      25
                                                            This Court effectuated the compelling public interest in ensuring that billions of taxpayer dollars
                                                      26
                                                            meant for small businesses are being spent as intended, an interest which is now more important
                                                      27
                                                            than ever, as the government is distributing trillions of dollars in COVID-19 aid, hundreds of
                                                      28
                                                                                                             9
                                                                            PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                              CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA           Document 166          Filed 04/23/20     Page 11 of 17



                                                       1    billions of which are earmarked for small businesses. This Court correctly held in Dkt. No. 153

                                                       2    that information in defendants’ compliance reviews and evaluations, including information to the

                                                       3    effect that Lockheed’s small business subcontracting goals were not met “by a certain

                                                       4    percentage,” is subject to public disclosure and, as a result, public scrutiny and political checks

                                                       5    and balances.

                                                       6           This Court’s ruling is bolstered by Exemption 4’s independent “obtained from a person”

                                                       7    requirement, and the case law interpreting it. See 5 U.S.C. § 552(b)(4); Gen. Servs. Admin. v.

                                                       8    Benson, 415 F.2d 878, 881 (9th Cir. 1969) (Exemption 4 “clearly condones withholding

                                                       9    information only when it is obtained from a person outside the agency”). In Raher v. Fed. Bureau
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                                                      10    of Prisons, a district court held, based on this rule, that the defendant could not “categorically
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                                                      11    exempt all internal price evaluation and source selection decision records which it generated for
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                                                      12    the purpose of evaluating bids.” No. CV-09-526-ST, 2011 WL 2014875, at **17-18 (D. Or. May
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                                                      13    24, 2011). Also, in Goldwater Institute, the Ninth Circuit applied Food Marketing Institute and

                                                      14    the “obtained from a person” requirement to reverse a district court’s summary judgment decision

                                                      15    that had improperly blessed the government’s non-disclosure of e-mails created by the FDA

                                                      16    based on general assertions and citations to FDA confidentiality regulations (the government has

                                                      17    similarly incorrectly invoked regulations in this case). 2020 WL 1487844, at **1-2.

                                                      18           Despite this Court’s clear directives in Dkt. No. 153, defendants have failed to disclose

                                                      19    vast swathes of their compliance reviews and many other government-made documents. See

                                                      20    Olson Decl. ¶ 7, Ex. E-1, E-2, E-3, E-4. For example, defendants’ redactions still conceal DCMA

                                                      21    responses to numerous questions (in both narrative and chart format), much of the DCMA’s

                                                      22    analysis and rationale for its ratings, and the DCMA’s recommendations to Lockheed Martin

                                                      23    Corporation (“LMC”) for improvement. See, e.g., Olson Decl., Ex. D-2 (at SUPP001154,

                                                      24    SUPP001155, redacting all of the DMCA’s responses – which appear to be stated in prose – to

                                                      25    listed questions). This information must be disclosed pursuant to this Court’s order.

                                                      26           Defendants must also disclose all “government assessments and evaluations,” including

                                                      27    performance to goals information. This Court specifically cited performance to goals information

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                                                                            PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                              CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA           Document 166          Filed 04/23/20     Page 12 of 17



                                                       1    in compliance reviews as an example of evaluative information subject to disclosure. Dkt. No.

                                                       2    153 at 5:23-6:8 (ordering disclosure of, by way of example, defendants’ conclusion “that an ‘SB

                                                       3    goal’ was ‘[n]ot met’ because that company ‘failed to meet the SB goal by’ a certain percentage

                                                       4    (e.g., MSJ002087)”). Yet defendants are continuing to withhold exactly this kind of performance

                                                       5    to goals information throughout their compliance reviews, including performance to goals

                                                       6    information for small disadvantaged businesses, women owned small businesses, HBCU/MI,

                                                       7    hub-zone small businesses, veteran-owned small businesses, and service disabled veteran–owned

                                                       8    small businesses (and sometimes, see SUPP1219-SUPP1221, redacting even general information

                                                       9    that is qualitatively identical to what the Court discussed in Dkt. No. 153 at 5:23-6:8. See, e.g.,
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                                                      10    Olson Decl., Ex. D-1. This clearly violates Dkt. No. 153. It also makes it impossible for ASBL to
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                                                      11    assess, among other things, how DOD is enforcing the SBA, whether DOD’s “Test Program” is
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                                                      12    working, and whether prime contractors are keeping their promises regarding small business
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                                                      13    subcontracting. The simplest way – and the only lawful way, given this Court’s clear holdings in

                                                      14    Dkt. No. 153 – to resolve this issue is to order defendants to disclose all of the information that

                                                      15    they have withheld pursuant to Exemption 4 in compliance reviews, and in any other compliance-

                                                      16    related records and correspondence.

                                                      17           C.      DEFENDANTS SHOULD BE ORDERED TO DISCLOSE ALL COMMUNICATIONS WITH
                                                      18                   LOCKHEED THAT THEY HAVE WITHHELD UNDER EXEMPTION 5 WHICH WERE
                                                                           NOT MADE BETWEEN SEPTEMBER 13, 2017 AND OCTOBER 11, 2017, BECAUSE
                                                      19                   THAT IS THE ONLY TIME WHEN THEY HAD A JOINT DEFENSE AGREEMENT
                                                                           UNDER DKT. NO. 58.
                                                      20
                                                                   Exemption 5 allows the government to withhold “inter-agency or intra-agency
                                                      21
                                                            memorandums or letters which would not be available by law to a party other than an agency in
                                                      22
                                                            litigation with the agency.” 5 U.S.C. § 552(b)(5). As this Court has explained,
                                                      23
                                                                   Under Exemption 5, information may be withheld if (1) its source is a government
                                                      24           agency, and (2) it “fall[s] within the ambit of a privilege against discovery under
                                                      25           judicial standards that would govern litigation against the agency that holds it.”
                                                                   Dep’t of Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 8 (2001).
                                                      26           “This exemption has been interpreted as coextensive with all civil discovery
                                                                   privileges.” Sierra Club[, Inc. v. United States Fish & Wildlife Serv., 911 F.3d
                                                      27           967,] 978 [(9th Cir. 2018)] (citing NLRB v. Sears, Roebuck & Co., 421 U.S. 132,
                                                                   149 (1975)). “In light of the strong policy of the FOIA that the public is entitled to
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                                                                            PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                              CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166        Filed 04/23/20      Page 13 of 17


                                                                   know what its government is doing and why, Exemption 5 is to be applied as
                                                       1           narrowly as consistent with efficient Government operation.” Lahr, 569 F.3d at
                                                       2           979 (quoting Maricopa Audubon Soc. [v. U.S. Forest Serv., 108 F.3d 1082,] 1093
                                                                   [(9th Cir. 1997)]).
                                                       3
                                                            Dkt. No. 58 at 12:4-12.5
                                                       4
                                                                   This Court further held that while the “common interest” doctrine sometimes justifies
                                                       5
                                                            withholding records under Exemption 5, it applies only to the extent that it squares with the
                                                       6
                                                            limitations set forth in Hunton & Williams v. U.S. Department of Justice, 590 F.3d 272 (4th Cir.
                                                       7
                                                            2010). The Court explained,
                                                       8
                                                                   While this order finds that the common interest doctrine applies to Exemption 5, it
                                                       9           does not blindly bless the government’s mere invocation of a common interest.
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                                                                   “Documents exchanged before a common interest agreement is established are not
                                                      10           protected from disclosure.” Id. at 285. “Thus, a proper assessment of the
                                                                   applicability of the common interest doctrine in this case requires a determination
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                                                      11
                                                                   of the point in time” when the government decided to partner with Sikorsky in
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                                                      12           pursuing the Exemption 4 redactions and when the partnership ended. Ibid.
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                                                      13           In ASBL I, there were obvious moments of divergent interests between the
                                                                   government and Sikorsky, as most readily demonstrated by the government’s
                                                      14
                                                                   disclosures throughout that litigation. Moreover, the government and Sikorsky
                                                      15           waited until September 2017 to enter into a formal joint defense agreement and
                                                                   withdrew from the agreement just a month later in October 2017 (Dkt. No. 44 at
                                                      16           19; Olson Decl., Exh. B). Yet the government seeks to withhold documents dating
                                                                   back to November 2014 and as recently as March 2018.
                                                      17
                                                                   While a joint strategy agreement is not required to be reduced to writing, it must
                                                      18
                                                                   actually have been made. Hunton, 590 F.3d at 285, 287; United States v. Gonzalez,
                                                      19           669 F.3d 974, 980 (9th Cir. 2012). The government’s Vaughn index Exemption 5
                                                                   entries simply state that the information at issue involved, for example, “a
                                                      20           discussion between Co-Defendants’ counsel regarding legal strategy for proposed
                                                                   redactions” and therefore does not, by itself, sufficiently demonstrate a common
                                                      21           interest (see Olson Decl., Exh. D). As in Hunton, “the record in this case presents
                                                                   the sort of features that underscore the need for watchfulness where the common
                                                      22
                                                                   interest doctrine is sought as a means to avoid FOIA’s disclosure requirements.”
                                                      23           Hunton, 590 F.3d at 286. “For the doctrine to apply, an agency must show that it
                                                                   had agreed to help another party prevail on its legal claims at the time of the
                                                      24           communications at issue because doing so was in the public interest.” Id. at 274.
                                                      25
                                                            5
                                                              ASBL maintains that Dkt. No. 58 should not have blessed any part of defendants’ assertion of
                                                      26    Exemption 5 based on defendants’ claimed “common interests” with Lockheed, an outside
                                                            corporation that, unlike defendants, was motivated solely by its and its shareholders’ own
                                                      27    private financial interests. Exemption 5 does not encompass the “common interest doctrine.”
                                                            See generally, Dep’t of the Interior v. Klamath Water Users Protective Ass’n, 532 U.S. 1
                                                      28    (2001). But in any event, defendants did not comply with Dkt. No. 58 as it stands.
                                                                                                           12
                                                                            PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                              CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA             Document 166         Filed 04/23/20       Page 14 of 17


                                                                     “[M]ere ‘indicia’ of joint strategy as of a particular point in time are insufficient to
                                                       1             demonstrate that a common interest agreement ha[d] been formed.” Id. at 285.
                                                       2    This Court then quoted Hunton, 590 F.3d at 286–87, and held, “[T]he government shall release
                                                       3    all communications that were not legitimately made pursuant to a joint defense agreement
                                                       4    (unless protected by another FOIA exemption).” Dkt. No. 58 at 17:13-16 (emphasis added).
                                                       5             The government has not done so. Its April 26, 2019 submission6 pays lip service to
                                                       6    “taking the narrowest view of when there was a common interest with Sikorsky,” Dkt. No. 64 at
                                                       7    1, but that’s not what the government has done. As this Court recognized in its March 8, 2019
                                                       8    Order,
                                                       9
                                                                     the government and Sikorsky waited until September 2017 to enter into a formal
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                                                      10             joint defense agreement and withdrew from the agreement just a month later in
                                                                     October 2017. (Dkt. No. 44 at 19; Olson Decl., Exh. B [Dkt. No. 47-3].) Yet the
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                                                      11             government seeks to withhold documents dating back to November 2014 and as
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                                                                     recent as March 2018.
                                                      12
                                                            Dkt. No. 58 at 16:12-15. The Court commented at the January 31 hearing,
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                                                      13

                                                      14             . . . there is no such thing as a joint defense privilege. Let’s be very clear on that.
                                                                     It’s just a way to avoid waiver. . . . And if you don’t dot your I’s and cross your
                                                      15             T’s, you are out of luck. So if you entered into the agreement on Monday – I’m
                                                                     sorry, on Sunday – let’s say Friday, take Friday, then that doesn’t cover anything
                                                      16             on Monday, Tuesday, Wednesday, Thursday, in my view.
                                                      17    Olson Decl., Ex. A at 5:8-10, 5:12-16. When the government’s lawyer conceded, “we didn’t have
                                                      18    a formal agreement at all times,” this Court responded, “Maybe you didn’t do it right then. . . . No
                                                      19    formal agreement. Where is that Sikorsky lawyer? Is he out there somewhere? That’s a big firm.
                                                      20    They should have done it right if they wanted these things to be secret.” Olson Decl., Ex. G at
                                                      21    6:1-3, 6:5-8. This Court commented, in words that apply to the government’s on-again, off-again
                                                      22    “relationship” with Lockheed, that parties “kind of test the waters,” and then eventually may say
                                                      23    they want a joint defense agreement, and then “they want to roll into it everything that happened
                                                      24

                                                      25
                                                            6
                                                              In Dkt. No. 72, ASBL objected to defendants’ filing of supplemental declarations, Dkt. Nos.
                                                      26    64-1, 64-2, 64-3, to support their Exemption 5 withholdings. ASBL renews that objection here.
                                                            Defendants should not be, and were not under the Court’s March 8, 2019 Order, Dkt. No. 58,
                                                      27    permitted to submit new evidence to justify their Exemption 5 withholdings after the Court
                                                            issued Dkt. No. 58. The consequence was and is more work, and higher litigation expenses, for
                                                      28    plaintiff.
                                                                                                          13
                                                                             PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                 COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                               CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA            Document 166         Filed 04/23/20       Page 15 of 17



                                                       1    before. It doesn’t work that way. You only get it from that point forward.” Dkt. No. Olson Decl.,

                                                       2    Ex. G at 6:12-22.

                                                       3            Defendants extensive withholdings indicate that they haven’t gotten the message. A

                                                       4    declaration by DOD counsel Mark Herrington, Dkt. No. 64-1, makes vague references to an on-

                                                       5    again, off-again “common interest” between the government and Sikorsky in defending certain

                                                       6    redactions, but one thing Mr. Herrington does not say is that the government and Sikorsky had an

                                                       7    actual Joint Defense Agreement. Nor does a declaration offered by Hirsh Kravitz. Dkt. No. 64-2. 7

                                                       8    A declaration by Ellen London, Dkt. No. 64-3, is vague, referring abstractly to times when the

                                                       9    government’s and Lockheed’s interests were supposedly “unequivocally aligned,” and largely
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                                                      10    skirts whether there was a real joint defense agreement, eventually confirming that a formal
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                                                      11    agreement lasted less than a month. Dkt. No., 64-3 ¶¶ 11-12. And defendants have not offered
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                                                      12    any declaration by Lockheed’s former counsel. They therefore ignore the Court’s admonition
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                                                      13    that, “ ‘[M]ere “indicia” of joint strategy as of a particular point in time are insufficient to

                                                      14    demonstrate that a common interest agreement ha[d] been formed.’ ” Dkt No. 58 at 17:2-4.

                                                      15            The government also fails to comply with Dkt. No. 58 because it does not even mention,

                                                      16    let alone adequately account for, “ ‘the public interest at stake in the case.’ ” Dkt. No. 58 at 17:6

                                                      17    (quoting Hunton & Williams, 590 F.3d at 286-87). “ ‘For the [common interest] doctrine to apply,

                                                      18    an agency must show that it had agreed to help another party prevail on its legal claims at the time

                                                      19    of the communications at issue because doing so was in the public interest.’ ” Dkt. No. 58 at

                                                      20    16:24-17:2 (quoting Hunton, 590 F.3d at 274) (emphasis added). There are “ ‘sparse indications

                                                      21    that the government had come to terms with the public interest’ ” here, which supports finding

                                                      22    that any legally effective “common interest” was limited to September 13 to October 11, 2017.

                                                      23            This case exemplifies the dangers of applying Exemption 5 to communications between

                                                      24    the government and outsiders. Cf. Dkt. No. 58 at 16:21-23 (stating that “ ‘the record in this case

                                                      25
                                                            7
                                                      26      The Kravitz declaration is primarily inadmissible opinion and speculation that the government
                                                            and interested parties “must be able to discuss strategies” or else “the candid discussion needed
                                                      27    for this vital decision-making process would be chilled,” and ASBL objects to it on that basis.
                                                            Dkt. No. 64-2 ¶ 11; see also Fed. R. Evid. 403, 602, 701. Also, defendants have not disclosed
                                                      28    their joint defense agreement to ASBL. ASBL has included it in its in camera review list.
                                                                                                            14
                                                                             PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                 COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                               CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA          Document 166          Filed 04/23/20    Page 16 of 17



                                                       1    presents the sort of features that underscore the need for watchfulness where the common interest

                                                       2    doctrine is sought as a means to avoid FOIA’s disclosure requirements’ ”) (quoting Hunton &

                                                       3    Williams, 590 F.3d at 286). Defendants’ filings are vague and conclusory, evince an on-again,

                                                       4    off-again misconception of “common interest”, ignore the fact that the government eventually

                                                       5    rejected Lockheed’s assertion of confidentiality in ASBL I (Exs. H, I, J and K to Olson Decl.),

                                                       6    don’t come to terms with the public interest in disclosure, and result in withholding information

                                                       7    from the public contrary to the purpose of FOIA and the plain language of Exemption 5.

                                                       8           The government provided an updated Vaughn index to plaintiff that verifies its

                                                       9    supplemental disclosures are inadequate, under both Exemption 5 and this Court’s March 8, 2019
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                                                      10    Order. Olson Decl., Ex. B. In her declaration, Ms. London identified twenty-one (21) lines of the
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                                                      11    Vaughn index that have changed as a result of this Court’s March 8, 2019 Order. Dkt. No. 64-3 ¶
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                                                      12    14. Yet the government’s updated Vaughn index lists, on approximately one hundred and thirty-
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                                                      13    four (134) lines, documents that it is continuing to withhold under Exemption 5. Dkt. No. 78-1,

                                                      14    Ex. B. The government’s withholdings continue to span virtually the entire ASBL I case. See, e.g.,

                                                      15    Dkt. No. 78-1, Ex. B at 1, 18. Defendants should be ordered to disclose all of their

                                                      16    communications with Lockheed made before or after September 13 to October 11, 2017.

                                                      17    IV.    CONCLUSION

                                                      18           This motion should not have been necessary. The Court issued its summary judgment

                                                      19    orders after extensive briefing and argument. Unfortunately, defendants have not complied with

                                                      20    those orders, requiring this compliance motion. Defendants should be ordered to comply with

                                                      21    Dkt. No. 153 as to Exemption 4 by disclosing all compliance reviews and other government-

                                                      22    made documents in their entirety, and with Dkt. No. 58 as to Exemption 5 by disclosing all

                                                      23    communications with Lockheed in ASBL I that were not made between September 13 and

                                                      24    October 11, 2017.

                                                      25

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                                                                                                            15
                                                                            PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                                COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                              CASE NO. 3:18-CV-01979-WHA
                                                           Case 3:18-cv-01979-WHA      Document 166        Filed 04/23/20   Page 17 of 17



                                                       1
                                                                                             Respectfully submitted,
                                                       2

                                                       3    DATED: April 23, 2020            CANNATA O’TOOLE FICKES & OLSON LLP

                                                       4                                     By:    /s/ Karl Olson
                                                                                                    KARL OLSON
                                                       5
                                                                                             Karl Olson
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                                                       7                                     Counsel for Plaintiff
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                                                                         PLAINTIFF AMERICAN SMALL BUSINESS LEAGUE’S MOTION TO COMPEL
                                                                             COMPLIANCE WITH COURT ORDERS (DKT. NO. 58, DKT. NO. 153)
                                                                                           CASE NO. 3:18-CV-01979-WHA
